        Case 3:17-cr-00622-W Document 2 Filed 03/10/17 PageID.23 Page 1 of 1


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 2
                                            UNITED STATES DISTRIGl'rft4ik:E.
                                                                          it
                                                                                         r.                       l
                                        SOUTHERN DISTRICT OF             ~IAl1\0:llt
 3
     UNITED STATES OF AMERICA,                                  Case N<ci..ERK   US~lWllft21J1f! W
                                                                       ;,OUi~EkN 01
 4
                    Plaintiff,                                                           jl\~OE""'.
 5                                                              NOTICES~       RELATED CASE
                    v.
 6


                                                                       ~3/1&~
 7
     ABDULLAH! AHMED ABDULLAH!,
       aka "Phish,        11
                               aka "Fish,,,
 8                                                                  UNSEALED PER ORDER OF COURT
                    Defendant.
 9

10
          TO THE CLERK OF THE COURT:
11
           Please take notice that the above-entitled case is related to
12
     United      States        of      America     v.    Marchello Dsaun              McCain,"       Case   No.
13
     15CR00174-W,        pursuant            to Local Rule 57 .2 .1,              Related Cases.            The
14
     United States Attorney certifies                           the    cases      are   related for         the
15
     following reason(s):
16
     ---
           (1)     More than one indictment or information is filed or
17
     pending against the same defendant or defendants;
18

19
     -X
      - - (2) Prosecution against different defendants arises from,
20                              (a) a common wiretap"
21                   x          (b) a common search warrant,
22                   X         · (c)    activities that are part of the                        same alleged
23                                      criminal        event     or   transaction;           that    is,   the
24                                      cases involved substantially the same facts and
25                                      the same questions of law.
26

27   DATED:    5 Iq
              -~,,___~---
                                        '   2017
28                                                              Acting United States Attorney
